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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

CHRISTOPHER CHANDLER,                           )
                                                )
                Plaintiff,                      )     Case No. 1:18-cv-02136-APM
                                                )
                v.                              )
                                                )
DONALD BERLIN, et al.,                          )
                                                )
                Defendants.                     )

                                   JOINT STATUS REPORT

       As instructed by the Court at the July 13, 2022 discovery hearing in this matter, the parties

respectfully submit this discovery status report:

       The parties are working to complete the few remaining discovery tasks.

Plaintiff Christopher Chandler has agreed to produce responsive documents and a privilege log on

or before 11:59 p.m. on August 5, 2022. For his part, Defendant Donald Berlin has agreed to be

deposed on August 15 and 16, 2022. And the parties have agreed that any motion to compel related

to any party’s document production will be submitted no later than August 19, 2022.


 Dated: July 27, 2022                                Respectfully Submitted,

 /s/ Steven M. Oster                                 /s/ Daniel P. Watkins
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